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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF INDIANA
                                      SOUTH BEND DIVISION


BRAD A. MART,                                        )
                                                     )
                           Plaintiff,                )
                                                     )
          v.                                         )        Case: 3:10-cv-00118-JTM-CAN
                                                     )
BERKSHIRE HATHAWAY, INC.,                            )
FOREST RIVER, INC. and                               )
PETER J. LIEGL,                                      )
                                                     )
                           Defendants.               )




         BRIEF IN SUPPORT OF DEFENDANTS FOREST RIVER, INC. AND
     PETER J. LIEGL’S MOTION TO DISMISS PLAINTIFF’S STATE LAW CLAIMS


          Plaintiff Brad Mart’s (“Plaintiff” or “Mart”) 106-paragraph complaint alleging multiple

state and federal law claims is burdened with irrelevant facts and unsupported legal conclusions.

None of Plaintiff’s state law claims has any basis in law or in fact. Defendants Forest River, Inc.

(“Forest River”) and Peter J. Liegl (“Liegl”) (collectively, the “Forest River Defendants”) seek

dismissal, pursuant to Fed. R. Civ. P. 12(b)(6), of all of the state law claims -- breach of contract,

retaliatory discharge, negligent misrepresentation, and defamation.                    As a matter of law,

Plaintiff’s factual allegations do not sustain his contract, retaliatory discharge, and

misrepresentation claims. Moreover, Plaintiff has failed to allege any facts at all to support his

claim that the Forest River Defendants defamed him. Dismissal of Counts I, III, IV, and VII

(sic) is therefore appropriate.1



1
    Plaintiff’s Amended Complaint does not contain a Count V; thus Count VII is actually Count VI.



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                                 SUMMARY OF THE CASE


       Forest River, an Elkhart, Indiana-based recreational vehicle manufacturer, employed

Plaintiff Brad Mart from mid-2006 until late November 2008. (Am. Compl. ¶1 ). On February

17, 2009, Plaintiff filed a complaint with the Department of Labor alleging he had been fired in

violation of the whistle-blower provisions of the Sarbanes-Oxley Act, 18 U.S.C. § 1514A

(“SOX”). In April of 2010, Plaintiff filed his 106-paragraph Complaint (Docket No. 1) and

subsequently filed an Amended Complaint (Docket No. 5), against his former employer, Forest

River, Forest River’s President and CEO, Peter J. Liegl, and Forest River’s parent company,

Berkshire Hathaway, Inc. (“Berkshire”). The federal court action added four state law claims

and a claim under the Family and Medical Leave Act (“FMLA”) to Plaintiff’s SOX complaint

against these Defendants.

       The Forest River Defendants, pursuant to L.R. 7.1(b), are also filing a separate Motion to

Dismiss the SOX claims for lack of subject matter jurisdiction under FRCP 12(b)(1). This

Motion to Dismiss, filed under FRCP 12(b)(6), focuses on Plaintiff’s Indiana state law claims

against the Forest River Defendants, all of which should be dismissed for the following reasons:

First, Plaintiff’s breach of contract claim fails because the “writing” on which he relies does not

create an employment contract under Indiana law as it lacks all of the requisite elements.

Adding the missing elements with parol evidence creates a parol contract, which is barred by the

Indiana Statute of Frauds. Second, the tort of retaliatory discharge for “whistle-blowing” is not

recognized in Indiana. Third, Plaintiff’s factual allegations of negligent misrepresentation are

insufficient as a matter of law because they are premised upon promises of future conduct, and

reliance that was unreasonable as a matter of law.          Fourth, Plaintiff alleges only legal

conclusions, not facts, to support his defamation claim, which consequently fails under the



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standards outlined by the U.S. Supreme Court in Twombly and Iqbal. As explained in more

detail below, for these reasons, Plaintiff’s state law claims should be dismissed in their entirety.

                                       LAW & ANALYSIS


   I.      RULE 12(B)(6) STANDARD

        “A Rule 12(b)(6) motion challenges the legal sufficiency of a complaint, not its factual

basis.” Alexander v. City of South Bend, 256 F. Supp. 2d 865, 869 (N.D. Ind. 2003). To survive

a motion to dismiss, Mart’s allegations must conform to the pleading requirements set forth in

FRCP 8, which requires a “short and plain statement of the claim showing that the pleader is

entitled to relief.” The U.S. Supreme Court recently clarified the intersection of FRCPs 8 and 12

in Bell Atlantic v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 129 S.Ct. 1937 (2009).

        In Twombly, the Court explained, the pleading requirements of Rule 8 are designed to

“give the defendant fair notice of what the … claim is and the grounds upon which it rests.” 550

U.S. at 555. Detailed factual allegations are not required, but “a plaintiff’s obligation to provide

the grounds of his entitlement to relief requires more than labels and conclusions, and a

formulaic recitation of a cause of action’s elements will not do.” Id. In Iqbal, the Court further

clarified that to survive a motion to dismiss under FRCP 12, a complaint

        must contain sufficient factual matter, accepted as true, to state a claim for relief
        that is plausible on its face. A claim has facial plausibility when the plaintiff
        pleads factual content that allows the court to draw the reasonable inference that
        the defendant is liable for the misconduct alleged. …Where a complaint pleads
        facts that are merely consistent with a defendant’s liability, it stops short of the
        line between possibility and plausibility of entitlement to relief.

129 S.Ct. at 1949. A complaint that does not state a “plausible claim for relief” is properly

dismissed under FRCP 12(b)(6). Id. at 1950. In this case, Plaintiff’s state law claims against the

Forest River Defendants do not state a plausible claim for relief, and thus should be dismissed.




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   II.      COUNT ONE – BREACH OF CONTRACT

         Plaintiff’s pleading against Forest River fails to establish the existence of a valid

employment contract, and to the extent that Plaintiff must rely upon parol evidence to supply the

missing element of the contract, his breach of contract claim is barred by the Statute of Frauds.

         In Indiana, the two basic forms of employment are employment for a definite or

ascertainable term or employment at-will. The determination of whether an employee is at-will

is a legal determination. Bee Window, Inc. v. Turman, 716 N.E.2d 498, 500 (Ind. Ct. App. 1999)

(dismissing a complaint alleging breach of an employment contract under IND. T.R. 12(B)(6)

because the employment agreement did not contain a definite term of employment). There is a

strong presumption “that employment is at-will and may be terminated at any time, with or

without cause, by either party.” Id. at 500-1.

                   A. PLAINTIFF’S ALLEGED CONTRACT IS INSUFFICIENT ON ITS FACE.

         In Count I of his Amended Complaint, Plaintiff alleges that Forest River breached a

written employment agreement entered into on October 31, 2007 (the “Agreement”) by failing to

make Plaintiff CEO of Forest River. (Am. Compl. ¶¶63-69). But, the Agreement is not a

contract. An employment contract must contain the following four elements to be valid: 1) the

place of employment; 2) the period of employment; 3) the nature of services the employee is to

render; and 4) the compensation the employee was to receive. Majd Pour v. Basic Amer. Med.,

Inc., 512 N.E.2d 435, 439 (Ind. Ct. App. 1987). In determining whether an employment contract

governs the relationship between parties, “[a] court may neither revise a contract nor supply

omitted terms while professing to construe a contract.” Ewing v. Bd. of Trs. of Pulaski Mem’l

Hosp., 486 N.E.2d 1094, 1098 (Ind. Ct. App. 1986), trans. denied. In short, “[a] court may not

create a contract for the litigants.” Id. Plaintiff’s Agreement is insufficient as a matter of law.



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       The Agreement on which Plaintiff relies appears to meet three of the four elements set

forth in Majd Pour. The Agreement states that the position is with Forest River, the position is

for CEO, and that the compensation would be $175,000 per year. See Firestone v. Std. Mgmt.

Corp., No. 1:04-cv-01223, 2005 U.S. Dist. LEXIS 15471 at *13-14 (S.D. Ind. July 5, 2005)

(simply referencing the position “CEO” sufficiently stated the nature of the services the

employee was to render). But, Plaintiff’s alleged employment agreement fails as a matter of law

because it does not state the term of the Agreement. The decision in Butts v. Oce-USA, Inc., 9 F.

Supp.2d 1007, 1010-11 (S.D. Ind. 1998), guides this analysis and is directly on point. In Butts,

the district court held that an employment offer letter did not amount to an employment contract

when the offer letter simply referred to the offer for employment being effective on August 5,

1996, and referred to an annual salary. Id. at 1010. The Butts court found that this language was

not sufficient to meet the period of employment factor. Id. at 1011. Thus, the employee was an

at-will employee and could be discharged without just cause. Id.

       As in Butts, the alleged Agreement here does not contain a provision addressing the

period of employment. Rather, it simply states that the Agreement is effective October 31, 2007,

and sets forth the annual salary of $175,000. (See Am. Compl. at Ex. 1). Providing an effective

date does not establish the period of employment. Therefore, the Agreement, on its face, is not a

valid employment agreement, and cannot provide the basis for a breach of contract claim against

Forest River.

                  B. PLAINTIFF’S ALLEGED CONTRACT            FAILS UNDER THE       STATUTE    OF
                     FRAUDS.


        Under Indiana law, if a written document does not clearly express the four required

elements, parol evidence may supply the missing terms. See Henry Sch. Twp. of Henry County,

Ind. v. Meredith, 70 N.E. 393 (Ind. 1904); Citizens Progress Co., Inc. v. James O. Held Co., Inc.,


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438 N.E.2d 1016, 1021 (Ind. Ct. App. 1982). The use of parol evidence in this manner creates a

“parol contract” in which some terms are oral and some are written. See Nat’l By-Prods., Inc. v.

Ladd, 555 N.E.2d 518, 520 (Ind. Ct. App. 1990). Parol contracts are considered to be oral

contracts under the Statute of Frauds. See id. at 520; James O. Held, 438 N.E.2d at 1021. But,

Plaintiff’s contract cannot be saved by converting it into an oral contract.

       Indiana’s Statute of Frauds states that “any agreement that is not to be performed within

one (1) year from the making thereof” must be in writing. IND. CODE § 32-21-1-1. The Statute of

Frauds requires all employment contracts to be in writing unless the contract can be performed

within a year or states that it is “for life.” See Wior v. Anchor Indus., 669 N.E.2d 172, 174-75

(Ind. 1996) (holding that an oral employment contract “until retirement” was unenforceable

because the parties understood the plaintiff’s retirement to be at least 20 years in the future);

Jarboe v. Landmark Cmty. Newspapers of Ind., 644 N.E.2d 118, 121 (Ind. 1994) (summarily

affirming the lower court’s determination that Jarboe could not recover on a breach of oral

contract claim “because the oral contract for over one year is unenforceable under the Statute of

Frauds.”); Mehling v. Dubois County Farm Bureau Coop. Ass’n, Inc., 601 N.E.2d 5, 7 (Ind. Ct.

App. 1992); Whiteco Indus., Inc. v. Kopani, 514 N.E.2d 840, 846-47 (Ind. Ct. App. 1987).

       In this case, because Plaintiff’s Agreement is silent as to the period of the employment,

any attempt to construe or create a period of employment requires Plaintiff to rely on parol

evidence. This creates a parol contract because some of the terms are written and some are oral.

Thus, the Agreement becomes an oral contract under the Statute of Frauds. Relying on the

allegations in the Amended Complaint, this Agreement could not be completed in one year

because Plaintiff alleges that he was supposed to become CEO at the end of 2008, yet the

Agreement was executed on October 31, 2007. Moreover, because the Agreement does not




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establish a duration, Plaintiff was an at-will employee and therefore, his employment could not

have been performed within a year. Under the Statute of Frauds, the Agreement is not a valid

and binding agreement and Plaintiff’s claim for breach of contract must be dismissed as a matter

of law.

   III.      COUNT THREE – RETALIATORY DISCHARGE AGAINST FOREST RIVER


          In his Amended Complaint, Plaintiff alleges retaliatory discharge because of his

“opposition to the unlawful conduct.” (Am. Compl. at ¶86). But, again, his claim fails under

Indiana law. Indiana does not recognize an independent cause of action for “whistle-blowing,”

and Plaintiff fails to meet Indiana’s common law exceptions to the at-will employment doctrine.

          Indiana’s at-will employment doctrine “permits both the employer and the employee to

terminate the employment at any time for a ‘good reason, bad reason, or no reason at all.”

Meyers v. Myers, 861 N.E.2d 704, 706 (Ind. 2007) (quoting Montgomery v. Bd. of Trustees of

Purdue Univ., 849 N.E.2d 1120, 1128 (Ind. 2006)). The landmark case of Frampton v. Central

Ind. Gas Co., 297 N.E.2d 425 (Ind. 1973) established the public policy exception to

employment-at-will “when an employee is discharged solely for exercising a statutorily

conferred right . . .” Id. at 428 (emphasis added). The exception was expanded in McClahanan

v. Remington Freight Lines, Inc.¸ 517 N.E.2d. 390 (Ind. 1998), in which an employee “alleged he

was wrongfully discharged for refusing to commit an illegal act for which he would have been

personally liable.” Id. at 393.

          Courts have narrowly construed these public policy exceptions to the at-will doctrine.

See, e.g., Haas Carriage Inc, v. Berna, 651 N.E.2d 284, 288 (Ind. Ct. App. 1995) (“[O]ur

supreme court has recognized few limited exceptions to the employment at will doctrine.”);

Stivers v. Stevens, 581 N.E.2d 1253, 1254 (Ind. Ct. App. 1991) (“in Frampton our supreme court



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crafted a narrow exception to the general rule.”). Likewise, in Wior the court rejected the claim

of an ex-employee who claimed he was fired for refusing to terminate the employment of

another employee who had filed a worker’s compensation claim. 669 N.E.2d at 177-78.

          In a more recent case, the Seventh Circuit also rejected an employee’s plea to expand

Indiana’s narrow exception to include “whistle blowing.” In Bregin v. Liquidebt Sys., 548 F.3d.

33 (7th Cir. 2008), Bregin, the former employee, alleged he was fired after refusing to participate

in illegal accounting practices, and identified himself as a “whistleblower” under the Sarbanes-

Oxley Act (although he did not bring a SOX claim).2 Like Plaintiff in this case, Bregin sued his

former employer for retaliatory discharge under Indiana law. The district court dismissed

Bregin’s claim and the Seventh Circuit affirmed: “At this time, whistle-blowing simply does not

form the basis for an exception to Indiana’s employment-at-will doctrine.” Id. at 537.

    IV.      COUNT FOUR – NEGLIGENT MISREPRESENTATION FOREST RIVER AND LIEGL


          Plaintiff has also failed to allege a cognizable claim for negligent misrepresentation.

Negligent misrepresentation is a disfavored tort under Indiana law and is recognized only under

extremely limited circumstances. Thomas v. Lewis Eng’g, Inc. 848 N.E.2d 758, 760 (Ind. App.

2006); Vickers v. Henry County Sav. & Loan Assoc., 827 N.E.2d 228, 233 (7th Cir. 1987).

          Indiana has adopted the elements of negligent misrepresentation as set forth in the

RESTATEMENT (SECOND) TORTS § 552 (1977), but only in the employer-employee context. Eby

v. York-Division, Borg-Warner, 455 N.E.2d 623 (Ind. Ct. App. 1983) (quoting REST. 2D TORTS §

552). Thus, to survive a motion to dismiss, Plaintiff must allege that Forest River and/or Liegl,

had “a duty to supply accurate information, fail[ed] to exercise reasonable care in doing so and

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  The Forest River Defendants have filed a separate motion under FRCP 12(b)(1) to dismiss Mart’s claims under the
Sarbanes-Oxley Act, 18 U.S.C. § 1514A, because the Forest River Defendants are not covered entities under SOX
and because Plaintiff failed to timely file his SOX Complaint with the Occupational Health and Safety
Administration. See Motion to Dismiss Count II of Plaintiff’s Amended Complaint.



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as a result [Mart], who justifiably relied on the information was damaged.” See Darst v. Illinois

Farmers Ins. Co., 716 N.E.2d 579, 584-85 (Ind. Ct. App. 1999). Plaintiff has not met his burden.

                   A. NEGLIGENT   MISREPRESENTATION IS RECOGNIZED IN INDIANA ONLY IN
                       LIMITED FACTUAL CIRCUMSTANCES NOT ALLEGED HERE.


       Plaintiff’s claims for negligent misrepresentation do not meet the standards established

by Indiana courts. Indiana’s seminal case is Eby, 455 N.E.2d at 623, in which an employee sued

for negligent misrepresentation after his employer falsely represented that there was a job for

him in Florida. Id. at 625. The employee, relying upon the employer’s representations, moved

his family to Florida only to find there was no job available. Id. The Indiana Court of Appeals

held that those narrow facts could support a claim for negligent misrepresentation. Id. at 630.

       Plaintiff’s case is distinguishable from Eby because in Eby, the misrepresentation

concerned whether a job actually existed. Here, the availability of the CEO position at Forest

River is not at issue. Plaintiff has not alleged otherwise. (See Am. Compl.). Plaintiff alleges,

rather, that he was not given the CEO job. (See id.). This distinction is significant because

Indiana courts have consistently rejected arguments like Plaintiff’s to expand Eby’s application

beyond the specific facts of that case. See Darst, 716 N.E.2d at 584 (declining to extend “the

tort’s application beyond the specific facts of Eby”); Pugh’s IGA, Inc. v. Super Food Svs., Inc.,

531 N.E.2d 1194, 1199 n.1 (Ind. App. Ct. 1988) (“Eby is limited to its own facts.”).

       Mart’s allegations are more analogous to the plaintiff’s in Essenburg v. Reub Williams

and Sons, Inc., No. S85-679, 1986 WL 15566 (N.D. Ind. Dec. 31, 1986), where the court found

the plaintiff did not establish the requisite elements of negligent misrepresentation. In that case,

Essenburg worked as the advertising manager for a newspaper. His employer changed

Essenburg’s position to advertising director and allegedly told him that he could continue his

employment until age seventy. Id. at *1. After Essenburg was fired at 64, he sought damages


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for negligent misrepresentation. Id. The court held these facts did not establish “the elements of

a negligent misrepresentation action under Indiana law as set out in Eby.” Id. at *5.

       As in Essenburg, the gravamen of Plaintiff’s claim concerns the duration of his

employment. Plaintiff’s complaint is not that the job no longer existed; it’s that he did not get it

when he wanted. Plaintiff’s claim is more like Essenburg than Eby, and is insufficient to warrant

application of the narrowly applied tort of negligent misrepresentation under Indiana law. As in

Essenburg, Plaintiff’s allegations do not state a plausible claim for negligent misrepresentation

and should be dismissed.

                   B. REPRESENTATIONS CONCERNING FUTURE CONDUCT CANNOT SUPPORT
                      PLAINTIFF’S NEGLIGENT MISREPRESENTATION CLAIM.

       Moreover, Plaintiff’s allegations do not establish the “statement of fact” element of his

claim. Actionable misrepresentations must concern past or presently existing facts. Although

Indiana’s case law on negligent misrepresentation is sparse, we find guidance in other courts that

have recognized the tort. See Havens v. C&D Plastics, Inc., 876 P.2d 435, 448 (Wash. 1994)

(“[F]alse representation as to a presently existing fact, [is] a prerequisite to a misrepresentation

claim.”). “An unfulfilled promise or statement of future events cannot provide the basis of a

misrepresentation claim.” Badger Pharmacal, Inc. v. Colgate-Palmolive Co., 1 F.3d 621, 627

(7th Cir. 1993) (applying Wisconsin law).

       In addition, the Tenth Circuit has explained,

       This is not some obscure technical rule. It is a natural consequence of the
       meanings of the terms negligent and misrepresentation. A misrepresentation
       conveys “false information;” that is, it must be a false statement of fact. But a
       promise in itself contains no assertion of fact other than the implied representation
       that the speaker intends to perform the promise. The misrepresentation must
       therefore be that the promisor is falsely declaring that he has the intent to perform.
       If the promisor intends not to perform, however, the misrepresentation (that the
       promisor intends to perform) is not negligent; it is, rather, knowing and
       intentional [i.e. fraud].


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Alpine Bank v. Hubbell, 555 F.3d 1097, 1107 (10th Cir. Jan. 30, 2009) (internal citations and

quotations omitted). See, e.g., Ameen v. Merck & Co., Inc., 226 Fed. Appx. 363, 374 (5th Cir.

2007) (“Negligent misrepresentation claims … cannot rest on future events.”); Badger, 1 F.3d at

637 (statements of fact must relate to present or pre-existing facts not future ones); Vint v.

Element Payment Svs., Inc., No. CV09-00078-PHX-DGC, 2009 WL 1749605, at *6 (D. Ariz.

June 18, 2009) (same); Grossman v. Computer Curriculum Corp., 131 F.Supp.2d 299, 309 (D.

Conn. 2000); Kroger v. Legalbill.com, LLC, 436 F.Supp.2d 97 (D.D.C. 2006) (same); Madera v.

Metro. Life Ins. Co., No. 99 CIV. 4005 (MBM), 2002 WL 1453827, at *8 (S.D.N.Y. 2002)

(breach of future conduct is not actionable as negligent misrepresentation); Sain v. Cedar Rapids

Comm. School Dist., 626 N.W.2d 115, 127 (Iowa 2001) (tort does not apply to statements of

future intent); Wilkinson v. Shoney’s, Inc., 4 P.3d 1149, 1167 (Kan. 2000) (“[T]he tort of

negligent misrepresentation … does not, by its terms, apply to misrepresentation of an intention

to perform an agreement.”) (quotation and citation omitted); Dallas Fire Fighters Assoc. v.

Booth Research Group, Inc., 156 S.W.3d 188, 194 (Tex. Ct. App. 2005) (“[The] sort of ‘false

information’ contemplated in a negligent misrepresentation case is a misstatement of existing

fact, not a promise of future conduct.”); see also Birt v. Wells Fargo Home Mortg., Inc., 75 P.3d

640 (Wyo. 2003) (“[T]he extension of negligent misrepresentation to situations involving future

intentions would endow every breach of contract with a potential tort claim for negligent

promise.”) (internal quotations omitted).

       The language of Plaintiff’s allegations illustrates that the representations at issue

concerned future conduct rather than past or existing facts. Plaintiff alleges that he asked Liegl if

he was “planning to retire” and whether Liegl was “planning for [Mart] to be CEO.” (Am.

Compl. at ¶33) (emphasis added). Mart alleges further that he “was to be named the CEO of




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Forest River,” that he “would act as CEO,” and that “Forest River and/or Berkshire Hathaway

would otherwise employ Mart.” (Id. at ¶¶91-93) (emphasis added). Plaintiff has failed to allege

that either Liegl or Forest River misrepresented a past or present fact. At most, Plaintiff alleges

that Forest River and Liegl failed to fulfill a future promise, an allegation that does not establish

the requisite “statement of fact” element of his negligent misrepresentation claim.

                   C. AS AN AT-WILL EMPLOYEE, PLAINTIFF’S RELIANCE ON ASSURANCES OF
                      FUTURE EMPLOYMENT WAS NOT JUSTIFIED.

       Plaintiff’s claim also fails because he cannot establish that he “justifiably relied” on the

representations. Plaintiff was an at-will employee who could be terminated at any time with or

without cause. Griffin v. Elkhart Gen. Hosp., 585 N.E.2d 723, 724-25 (Ind. Ct. App. 1992)

(“[E]mployment at-will doctrine states that where the tenure of service of an employee is

indefinite or cannot be determined by the terms of the employment contract, employment is

presumptively at the will of either party.”). In such circumstances, courts have held that “any

reliance on representations of future intentions, such as job security or future changes [is]

unreasonable as a matter of law.”

       This element was recognized by the Essenburg Court:

       [T]he only representation … made to Mr. Essenburg was that he would have a job
       for as long as he wanted. The promise of employment was for an indefinite term
       and did not alter Mr. Essenburg’s status as an employee-at-will who could be
       terminated for cause or without cause. … Any actions Mr. Essenburg may have
       taken in reliance on such a representation would … have been unjustified, given
       his status as an employee-at-will.

1986 WL 15566, at *5 (emphasis added). As in Essenburg, Mart was an at-will employee, thus

any action he took in reliance on the Forest River Defendants’ alleged representations was

unreasonable as a matter of law.




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        Other courts have applied this principle as well. See, e.g., Meyercord v. Curry, 38

A.D.3d 315, 316 (N.Y. Sup. Ct. 2007); Winn v. Case Corp., 33 F.3d 61, at *4 (9th Cir. 1994)

(unpublished table decision); Brethwaite v. Cincinnati Milacron Mktg. Co., No. CIV. A. 94-

3621, 1995 WL 232519 (E.D. Pa. April 19, 1995) (“A claim of negligent misrepresentation

requires that a plaintiff have justifiably relied on the alleged misrepresentation, and an

employer’s promise is not something which an employee can justifiably rely upon when the

employment relationship is at will.”); Arias v. Women in Need, Inc., 274 A.D.2d 353, 354 (N.Y.

Sup. Ct. 2000) (plaintiff could not establish reliance element because employment was at-will);

see also Colosi v. Electri-Flex Co., 965 F.2d 500, 504 (7th Cir. 1992) (employee at-will can only

expect to receive wages and benefits for work performed). In the case at bar, Plaintiff’s reliance

was unreasonable, and thus, his negligent misrepresentation claim fails.

        Plaintiff finds no refuge in the argument that he was not an employee at-will because of

the “contract” he and Liegl signed. Indiana law is clear that even where, as in this case, an

alleged contract exists, if the agreement does not establish the duration of employment, the

relationship is presumptively terminable at the will of either party. Griffin, 585 N.E.2d at 725.

The ‘contract’ Plaintiff and Liegl signed plainly does not establish the duration of Plaintiff’s

employment. (See Am. Compl. at Ex. 1). Under Indiana law, Plaintiff is therefore an employee

at-will who could not reasonably rely on assurances of future employment.

        For all of these reasons, Plaintiff’s negligent misrepresentation claim fails as a matter of

law and should therefore be dismissed.

   V.      COUNT SEVEN – DEFAMATION (INCLUDING SLANDER PER SE, LIBEL PER SE)
           AGAINST LIEGL AND FOREST RIVER.

        Plaintiff relies on legal conclusions, but has failed to properly plead any facts to support

his defamation claim against the Forest River Defendants. In this circumstance, the United


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States Supreme Court encourages courts to engage in a two-step inquiry, see Iqbal, 129 S.Ct. at

1950, which dooms Plaintiff’s defamation claim.         First, although this Court must accept

Plaintiff’s well-pleaded factual allegations as true, it may begin its analysis by weeding out

factual allegations from legal conclusions which are not entitled to a presumption of truth. Id.

Next, assuming the truth of the well pleaded factual allegations ferreted out in step one, this

Court should consider whether those allegations plausibly give rise to the relief sought. Id.

       In Indiana, to establish a prima facie case for defamation, Plaintiff must allege “a

communication with defamatory imputation, malice, publication, and damages.” Trail v. Boys

and Girls Club of Northwest Ind., 845 N.E.2d 130, 135 (Ind. 2006). A statement is per se

defamatory if it imputes unfitness to perform the duties of a job or a lack of integrity in the

performance of duties. Baker v. Tremco, Inc., 890 N.E.2d 73 (Ind. Ct. App. 2008). To survive a

motion to dismiss, Plaintiff must allege facts, rather than legal conclusions, that support his

defamation claim. Iqbal, 129 S.Ct. at 1949. Plaintiff has not met and cannot meet his burden.

                   A. PLAINTIFF ALLEGES NO FACTS            IN   SUPPORT   OF HIS    DEFAMATION
                      CLAIM.

       Under Twombly and Iqbal, this Court may begin its analysis by asking what facts (as

opposed to legal conclusions) Plaintiff had pled in support of his defamation claim. The answer

is none. Plaintiff alleges only:

       After Mart reported the unlawful conduct described herein, Forest River and Liegl
       made false and defamatory statements about Mart’s medical health and
       managerial capabilities both in writings and in oral communications with Forest
       River personnel and, on information and belief, to employees at Berkshire
       Hathaway and to the public in general. These false statements were made with
       malice and directly related to Mart’s business and profession causing him
       damages.

(Am. Compl. ¶104) (emphasis added). Plaintiff’s allegations are deficient in several respects.




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        First, barebones allegations such as, “Forest River and Liegl made false and defamatory

statements … with malice” are legal conclusions insufficient to state a claim for defamation and,

in any event, need not be accepted as true. Iqbal, 129 S.Ct. at 1951 (“While legal conclusions

can provide the framework of a complaint, they must be supported by factual allegations.”)

(emphasis added). Additionally, allegations based on “information and belief” are insufficient as

a matter of law to support a defamation claim because they fail to provide the defendant with the

factual context needed to form an adequate response and accordingly do not fulfill the notice

requirement of FRCP 8. See Skillstorm, Inc. v. Electronic Data Systems, LLC, 666 F.Supp.2d

610, 619 (E.D. Va. 2009). At bottom then, Plaintiff offers little more than “unadorned, the

defendant-unlawfully-harmed-me accusation[s;]” Rules 8 and 12 require more. See Iqbal, 129

S.Ct. at 1949.

                   B. PLAINTIFF’S ALLEGATIONS DO NOT LEAD TO A PLAUSIBLY
                      DEFAMATORY STATEMENT MADE BY FOREST RIVER AND LIEGL.


       Next, assuming that Plaintiff in fact makes some factual allegations that support his

defamation claim (he does not), this Court must then consider whether those allegations are

sufficient to support his defamation claim as a matter of law. Iqbal, 129 S.Ct. at 1949. Plaintiff

has not identified any facts that permit this Court to determine that a plausibly defamatory

statement was made, communicated to others, and caused harm. Thus, Plaintiff’s allegations do

not “nudge[] his claims of [defamation] across the line from conceivable to plausible” and his

claim fails as a matter of law. See Iqbal, 129 S.Ct. at 1950 (internal citations omitted).

       Even before Twombly and Iqbal, courts in the Seventh Circuit required the plaintiff to

“set out the operative facts of a defamation claim by including a specific account of the alleged

defamatory statement in the complaint.” Farr v. St. Francis Hosp. & Health Ctrs., No. 1:06-cv-




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779-SEB-JMS, 2007 WL 2793396, at *4 (S.D. Ind. Sept. 26, 2007) (emphasis added).3 Farr is

representative of the typical Seventh Circuit analysis.

        In Farr, an employee sued his former employer for, among other things, defamation. In

support of his claim, Farr alleged only that his “superiors at St. Francis told other employees at

St. Francis, who had no need to know, that Farr had accessed pornography on his St. Francis

computer.”     2007 WL 2793396, at *4.             The employer moved to dismiss the claim under

FRCP 12. In granting the motion, the court explained,

        [e]ven under notice pleading, a plaintiff must set out the operative facts of a
        defamation claim by including a specific account of the alleged defamatory
        statement in the complaint. … Although the alleged defamatory statements need
        not be recited verbatim … the complaint must give sufficient notice of the alleged
        statement to allow the defendant to form an appropriate response.

Id. Farr’s allegations did not provide the requisite notice because they “lack[ed] any reference

to the number of speakers or statements made, to whom the statements were made, or when or in

what context the statements were made.” Id. Thus, the court concluded, dismissal under Rule 12

was appropriate.

        More recently, since Iqbal, federal courts considering defamation claims on a motion to

dismiss have required the plaintiff, at a minimum, to identify the speaker and the allegedly

defamatory statement. Stetter v. Blackpool, No. CV-09-1071-PHX-DGC, 2010 WL 1531082, at

*1 (D. Ariz. April 15, 2010) (dismissing defamation claim where plaintiff pleaded identity of the

speaker but not the allegedly defamatory statement); Ruiz v. Nat’l City Bank, No. 2:09-CV-

01586-JAM-GGH, 2010 WL 1006412, at *4 (E.D. Cal. March 17, 2010) (dismissing plaintiff’s

slander claim where plaintiff failed to plead “any facts identifying what the allegedly damaging

or false statements were, the parties to whom the statements were made, or what damage”

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   The Seventh Circuit has not yet applied Iqbal to a defamation claim. Though Farr pre-dates Iqbal, its analysis
and conclusion is consistent with Iqbal.



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plaintiff suffered as a result); Curry v. Philip Morris USA, Inc., No. 3:08cv609, 2010 WL

431692, at *4-5 (W.D.N.C. Feb. 4, 2010) (dismissing defamation claim where plaintiff failed to

identify any allegedly defamatory statement).4

        Mart’s case is much like the one asserted by the plaintiff in Skillstorm.                       See 666

F.Supp.2d at 619.        In Skillstorm, a government contractor sued the prime contractor and

subcontractor for defamation. Id. at 620.           In support, Skillstorm alleged “on information and

belief,” that the defendant made false statements to a third party. Id. The defendant moved to

dismiss. Id.      The court found that Skillstorm alleged it was defamed, but did not plead any

factual allegations to support its claims. Thus, the court concluded, “Skillstorm’s allegations are

devoid of the factual support demanded under Twombly.” Skillstorm did not identify the speaker

of the allegedly defamatory statement, when the statement was made, or why the statement was

defamatory. Id. Such barebones allegations, the court concluded, warranted dismissal under

FRCP 12.

        As in Farr and Skillstorm, Mart’s defamation allegations are insufficient as a matter of

law. Plaintiff does not plead any facts or identify any statements from which this Court could

plausibly infer that Forest River or Liegl made any comments, much less defamatory ones about

Plaintiff. This is precisely the “type of pleading that Iqbal and Twombly sought to foreclose.”

See id. Moreover, Plaintiff has not supplied the requisite factual context to permit Forest River

or Liegl to form an appropriate response: Plaintiff’s allegations lack any specific reference to the

number of speakers or statements made, to whom the statements were made, or when or in what

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   This approach is not only consistent with Iqbal and Twombly, but is also consistent with the pleading standard
required by the Indiana Rules of Trial Procedure as interpreted by Indiana courts. See, e.g., Trail v. Boys & Girls
Club of Northwest Ind., 845 N.E.2d 130, 138 (Ind. 2006) (plaintiff must identify the specific words alleged to be
defamatory and when, where and to whom the statements were made); Shephard v. Schurz Commc’n., Inc., 847
N.E.2d 219, 225 (Ind. Ct. App. 2006) (“[T]he alleged defamatory statement must be included in the complaint.”);
Newman v. Jewish Cmty. Ctr. Ass’n of Indianapolis, Inc., 875 N.E.2d 729, 734-35 (Ind. Ct. App. 2007) (“Plaintiff
must also identify the speaker of those statements.”).



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context the statements were made.        Such allegations do not state a cognizable claim for

defamation. Id Therefore, Plaintiff’s defamation claim against the Forest River Defendants also

warrants dismissal.

                                          CONCLUSION


        Plaintiff has filed a lengthy Amended Complaint chock full of alleged facts and abundant

conclusions all in search of a plausible legal theory; for all of the reasons set forth above, none of

his allegations of state law liability applies here. His Amended Complaint fails to state a claim

under Indiana state law for breach of contract, retaliatory discharge, negligent misrepresentation,

and defamation. As a result, applying FRCP 12(b)(6), Plaintiff’s pendent state claims against the

Forest River Defendants, Counts I, III, IV, and VII (sic), should be dismissed with prejudice in

their entirety.

                                                      Respectfully submitted,


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                                  CERTIFICATE OF SERVICE


        I hereby certify that on June 1, 2010, I electronically filed the foregoing Brief in Support of
Defendants Forest River, Inc. and Peter J. Liegl’s Motion to Dismiss Plaintiff’s State Law Claims with
the Clerk of the Court using the CM/ECF system, which sent notification of such filing to the following
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